 Fill in this information to identify the case:

 Debtor name         King Par, LLC a/k/a KC Acquisition Company LLC
                                                                                                                                                          CORRECTED
 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN

 Case number (if known)          16-31984
                                                                                                                                                          Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $6,055.62     $6,055.62
           Charter Township of Flint                                 Check all that apply.
           1490 S. Dye Road                                           Contingent
           Flint, MI 48532                                            Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           2015 and 2016 Tax Year                                    Personal property taxes
           Last 4 digits of account number 6070                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                           $0.00
           A&R COLLECTIBLES                                                         Contingent
           PO BOX 472                                                               Unliquidated
           PROSPECT HEIGHTS, IL 60070                                               Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                           $0.00
           ACCELERATOR GOLF, INC                                                    Contingent
           2713 INDUSTRIAL                                                          Unliquidated
           GARLAND, TX 75041                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes




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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          ACCOUNT CONTROL TECHNOLOGY, INC                                     Contingent
          P.O. BOX 8012                                                       Unliquidated
          CANOGA PARK, CA 91309                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $32,475.00
          ACCUFLI INC                                                         Contingent
          Zhejinag Xht Sports                                                 Unliquidated
          FUYANG CITY, Hangzhou                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ADAMS GOLF                                                          Contingent
          PO BOX 406043                                                       Unliquidated
          ATLANTA, GA 30384-6043                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $289.00
          ADS PLUS                                                            Contingent
          767 E Main Street                                                   Unliquidated
          FLUSHING, MI 48433                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $289.00
          ADVANCED CARRIER TECHNOLOGIES, LLC                                  Contingent
          5119 Highland Rd, #196                                              Unliquidated
          WATERFORD, MI 48327                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $396.00
          ADVERTISING SPECIALTY INSTITUTE                                     Contingent
          P.O. Box 15017                                                      Unliquidated
          WILMINGTON, DE 19886                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          AETREX WORLDWIDE                                                    Contingent
          414 ALFRED AVE                                                      Unliquidated
          TEANECK, NJ 07666                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          AHEAD HEADGEAR                                                      Contingent
          270 SAMUEL BARNET BLVD                                              Unliquidated
          NEW BEDFORD, MA 02745                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ALAN BRINK                                                          Contingent
          19600 Riverside Dr                                                  Unliquidated
          Beverly Hills, MI 48025                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ALDILA INC                                                          Contingent
          14145 Danielson Street, Suite B                                     Unliquidated
          Poway, CA 92064                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ALLESON ATHLETIC                                                    Contingent
          PO BOX 14180                                                        Unliquidated
          ROCHESTER, NY 14614-4180                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          AMERICAN GOLF MARKETING                                             Contingent
          2193 YELLOWSTONE ST                                                 Unliquidated
          GOLDEN, CO 80401                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ANDY GUZIK                                                          Contingent
          4324 CLEAR CREEK COURT                                              Unliquidated
          ROCHESTER HILLS, MI 48306                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ANTIGUA GROUP, INC                                                  Contingent
          2903 PAYSHERE CIRCLE                                                Unliquidated
          CHICAGO, IL 60674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          AQUARIUS, LTD                                                       Contingent
          3200 SOUTH KINGSHIGHWAY                                             Unliquidated
          ST. LOUIS, MS 63139                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ARANCO                                                              Contingent
          HANA FINANCIAL                                                      Unliquidated
          PO BOX 92943                                                        Disputed
          LOS ANGELES, CA 90009
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $336,312.00
          ARLEN INTERNATIONAL CORPORATION                                     Contingent
          3F, 622 Chung Shan N. Road Sec 5                                    Unliquidated
          Jhongjheng District                                                 Disputed
          TAIPEI, Taiwan 11120-0000
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ASHER GOLF                                                          Contingent
          953 West Freedom Point Way                                          Unliquidated
          Bluffdale, UT 84065                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,638.00
          ASHLOR STAFFING SERVICES                                            Contingent
          3710 Davison Rd                                                     Unliquidated
          FLINT, MI 48506                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ASHWORTH INC                                                        Contingent
          5545 Fermi Court                                                    Unliquidated
          Carlsbad, CA 92008-7324                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ATLAS PEN & PENCIL                                                  Contingent
          3040 N. 29TH AVE                                                    Unliquidated
          HOLLYWOOD, FL 33022                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          AUR                                                                 Contingent
          104 BARR STREET                                                     Unliquidated
          ST LAURNET, QUEBEC H4T 1Y4                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $122.00
          AVEO MOR LLC                                                        Contingent
          4314 WOODVIEW DR                                                    Unliquidated
          ROGERS, AR 72758                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BAG BOY CO                                                          Contingent
          P O BOX 933671                                                      Unliquidated
          ATLANTA, GA 31193-3671                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BAG TAG, LLC                                                        Contingent
          DBA CUSTOM GOLFING PRODUCTS                                         Unliquidated
          105 HARDMAN CT                                                      Disputed
          S. ST. PAUL, MN 55075
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $100.00
          BARRACUDA NETWORKS , INC                                            Contingent
          3175 Winchester Blvd                                                Unliquidated
          CAMPBELL, CA 95008                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BARTH & MCCALLING, LLC                                              Contingent
          PO BOX 1097                                                         Unliquidated
          SYOSSET, NY 11791                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,583.00
          BELL WAREHOUSING & MFG. SERV                                        Contingent
          5510 Clio Rd                                                        Unliquidated
          FLINT, MI 48504                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BELLA ANDMORE CORPORATION                                           Contingent
          13000 DANIELSON ST SUITE J                                          Unliquidated
          POWAY, CA 92064                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BENETTI & CO                                                        Contingent
          727S. STATE COLLEGE BLVD                                            Unliquidated
          SUITE D                                                             Disputed
          FULLERTON, CA 92831
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BERGLUND GOLF SALES                                                 Contingent
          444 DORSEYVILLE RD                                                  Unliquidated
          PITTSBURGH, PA 15215                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BERMUDA SANDS                                                       Contingent
          900 PRESSLEY ROAD                                                   Unliquidated
          CHARLOTTE, NC 28217                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BETTE & COURT GOLF                                                  Contingent
          FANTASI INTERNATIONAL COR                                           Unliquidated
          P O BOX 140070                                                      Disputed
          CORAL GABLES, FL 33114-0070
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BETTINARDI GOLF INC                                                 Contingent
          7800 GRAPHIC DRIVE                                                  Unliquidated
          TINLEY PARK, IL 60477                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BILL SWEET                                                          Contingent
          1838 DREXEL                                                         Unliquidated
          DEARBORN, MI 48128                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BIONIC                                                              Contingent
          LOCKBOX 3317                                                        Unliquidated
          PO BOX 8500                                                         Disputed
          PHILAELPHIA, PA 19178-3317
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BIRDIE                                                              Contingent
          724 BATERY STREET                                                   Unliquidated
          SAN FRANCISCO, CA 94111                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,854.00
          BITE LLC                                                            Contingent
          TYCO CAPITAL/COMMERCIAL S                                           Unliquidated
          PO BOX 1036                                                         Disputed
          CHARLOTTE, NC 28201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BNB GROUP BOSTON                                                    Contingent
          P.O. BOX 290502                                                     Unliquidated
          CHARLESTOWN, MA 02129                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BOB WIESEN                                                          Contingent
          9303 W STANLEY                                                      Unliquidated
          FLUSHING, MI 48433                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BOGEY PRO GOLF                                                      Contingent
          600 WASHINGTON AVENUE NORTH #203                                    Unliquidated
          MINNEAPOLIS, MN 55401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BOO WEEKLEY APPAREL                                                 Contingent
          8600 DECAROE                                                        Unliquidated
          LOCAL 12                                                            Disputed
          MONTREAL, QUECBEC H4P 2N2
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BOYNE COUNTRY SPORTS                                                Contingent
          1200 BAYVIEW RD                                                     Unliquidated
          PETOSKEY, MI 49770                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BRAD LANGDON                                                        Contingent
          208 LABIAN                                                          Unliquidated
          FLUSHING, MI 48433                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $396.00
          BRENT SPANGENBERG SALES                                             Contingent
          31935 Homewood Place                                                Unliquidated
          LAGUNA BEACH, CA 92651                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BRIAN COFFMAN                                                       Contingent
          2440 ADARE RD                                                       Unliquidated
          ANN ARBOR, MI 48104                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BRIAN DAMERON                                                       Contingent
          50202 HELFER BLVD                                                   Unliquidated
          WIXOM, MI 48393                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BRIAN MINBIOLE                                                      Contingent
          4019 OAK TREE CIRCLE                                                Unliquidated
          ROCHESTER, MI 48306                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $250.00
          BRIAN WEBBER                                                        Contingent
                                                                              Unliquidated
          FLUSHING                                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BRIDGESTONE SPORT USA INC                                           Contingent
          P.O. BOX 2908                                                       Unliquidated
          CAROL STREAM, IL 60132-2908                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,298.00
          BRIDGESTONE SPORTS                                                  Contingent
          PO BOX 2908                                                         Unliquidated
          CAROL STREAM, IL 60132-2908                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BUG BAM                                                             Contingent
          1629 W 144 STREET #A                                                Unliquidated
          GARDENA, CA 90247                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BUGATCHI                                                            Contingent
          1290 AVENUE OF THE AMERICAS                                         Unliquidated
          NEW YORK, NY 10104                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BUICK OPEN                                                          Contingent
          535 GRISWOLD ST # 2000                                              Unliquidated
          DETROIT, MI 48226                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BURTON GOLF INC                                                     Contingent
          PO BOX 640870                                                       Unliquidated
          CINCINNATI, OH 45264-0870                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BUSHNELL CORP                                                       Contingent
          P.O. Box 860365                                                     Unliquidated
          Minneapolis, MN 55486-0365                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CADDY SHACK LIVONIA                                                 Contingent
          20694 NEWBURGH RD                                                   Unliquidated
          LIVONIA, MI 48152                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $90.00
          CADDYPRO GOLF PRODUCTS                                              Contingent
          7023 68 Avenue NW                                                   Unliquidated
          EDMONTON, AB T6B 3E3                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $92,225.00
          CALLAWAY GOLF                                                       Contingent
          PO BOX 9002                                                         Unliquidated
          CARLSBAD, CA 92018-9002                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CALLAWAY GOLF BALL CO.                                              Contingent
          2180 RUTHERFORD RD.                                                 Unliquidated
          CARLSBAD, CA 92008                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CALLAWAY GOLF RANGEFINDERS                                          Contingent
          15331 BARRANCA PARKWAY                                              Unliquidated
          IRVINE, CA 92618                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CAM GOLF                                                            Contingent
          2251 EAST 198TH STREET                                              Unliquidated
          LYNWOOD, IL 60411                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $46,396.00
          CANADIAN AMERICAN                                                   Contingent
          PO BOX 90278                                                        Unliquidated
          BURTON, MI 48509                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,936.00
          CAROLINA HOSIERY MILLS                                              Contingent
          710 Koury Dr                                                        Unliquidated
          BURLINGTON, NC 27215                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,261.00
          CENTURY MARKETING CORP                                              Contingent
          12836 DIXIE HWY                                                     Unliquidated
          BOWLING GREEN, OH 43402-9697                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CHAMP                                                               Contingent
          140 LOCKE DRIVE                                                     Unliquidated
          MARLBOROUGH, MA 01752                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,529.00
          CHARTER TOWNSHIP OF FLINT                                           Contingent
          1490 S. Dye Road                                                    Unliquidated
          FLINT, MI 48532                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,096.00
          CHARTER TWP OF FLINT                                                Contingent
          1490 S. Dye Road                                                    Unliquidated
          FLINT, MI 48532                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CHERRY CREEK DIST. CO.                                              Contingent
          7488 PARADISE DR                                                    Unliquidated
          GRAND BLANC, MI 48439                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CHILIWEAR LLC                                                       Contingent
          5609 BLESSEY ST. SUITE A                                            Unliquidated
          HARAHAN, LA 70123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $62,999.00
          CHRIS COFFMAN                                                       Contingent
          2003 DAY ST                                                         Unliquidated
          ANN ARBOR, MI 48104-3605                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Chris Sullivan                                                      Contingent
          2051 N. Lovington Dr                                                Unliquidated
          Apt 204                                                             Disputed
          Troy, MI 48083
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CINDY SMITH                                                         Contingent
          3578 BITTERSWEET                                                    Unliquidated
          COLUMBIAVILLE, MI 48421                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $581.00
          CINTAS CORPORATION #308                                             Contingent
          4162 S. Dye Rd                                                      Unliquidated
          SWARTZ CREEK, MI 48501                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,235.00
          CLARK HILL                                                          Contingent
          P.O. BOX 3760                                                       Unliquidated
          PITTSBURGH, PA 15230                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,837.00
          CLARK HILL PLC                                                      Contingent
          P.O. BOX 3760                                                       Unliquidated
          PITTSBURGH, PA 15230                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CLARKE DIST CO                                                      Contingent
          9233 BRYANT                                                         Unliquidated
          HOUSTON, TX 77075                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $711.00
          CLEAR RATE COMMUNICATIONS                                           Contingent
          PO BOX 27308                                                        Unliquidated
          LANSING, MI 48909                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CLEVELAND GOLF                                                      Contingent
          DEPT 3355                                                           Unliquidated
          PO BOX 123355                                                       Disputed
          DALLAS, TX 75312-3355
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CLEVER PRODUCTS                                                     Contingent
          5539 WHITEHAVEN DR                                                  Unliquidated
          TROY, MI 48085                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CLIC GEAR                                                           Contingent
          1200 SE 2ND AVE                                                     Unliquidated
          CANBY, OR 97013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CLUB CLUB, INC                                                      Contingent
          17500-C BLOMMFIELD                                                  Unliquidated
          CERRITOS, CA 90703                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CN IS BELIEVING, INC                                                Contingent
          TIMBERLAKE BUILDING                                                 Unliquidated
          ROUTE 28N                                                           Disputed
          ALTON, NH 03809
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          COBRA PUMA GOLF, INC                                                Contingent
          PO BOX 5834                                                         Unliquidated
          CAROL STREAM, IL 60197-5834                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $491.00
          COMMERCE TECHNOLOGIES                                               Contingent
          25736 Network Place                                                 Unliquidated
          CHICAGO, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $925.00
          COMMERCEHUB                                                         Contingent
          25736 Newwork Place                                                 Unliquidated
          CHICAGO, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,110.00
          COMPTROLLER OF PUBLIC ACCOUNTS                                      Contingent
          111 East 17th Street                                                Unliquidated
          AUSTIN, TX 78774                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $246.00
          CONSUMER TESTING LABORATORIES                                       Contingent
          P.O. BOX 952766                                                     Unliquidated
          ATLANTA, GA 31192-2766                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $21,775.00
          CONSUMERS ENERGY                                                    Contingent
          P.O. BOX 740309                                                     Unliquidated
          CINCINNATI, OH 45274                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CREATURE COMFORTS PLUSH TOYS                                        Contingent
          2769 BROADWAY                                                       Unliquidated
          BUFFALO, NY 14227                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CROCS                                                               Contingent
          DEPT 1887                                                           Unliquidated
          7477 East Dry Creek Parkway                                         Disputed
          DENVER, CO 80503
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $16.00
          CROSSMARK                                                           Contingent
          PO BOX 844403                                                       Unliquidated
          DALLAS, TX 75284-4403                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CRYSTAL GOLF                                                        Contingent
          P.O. BOX 490818                                                     Unliquidated
          LEESBURG, FL 34748                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CUSTOM BRANDED SPORTSWEAR,                                          Contingent
          DBA PING APPAREL                                                    Unliquidated
          PO BOX 413245                                                       Disputed
          KANSAS CITY, MO 64141
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CUTTER & BUCK INC                                                   Contingent
          P.O. BOX 34855                                                      Unliquidated
          SEATTLE, WA 98124-1855                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $856.00
          DANCIN' DOGG                                                        Contingent
          LB 3336                                                             Unliquidated
          PO BOX 9438                                                         Disputed
          MINNEAPOLIS, MN 55440-9438
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DAPHNE'S HEADCOVERS                                                 Contingent
          337 W. MELINDA LANE                                                 Unliquidated
          PHOENIX, AZ 85027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DATREK PROFESSIONAL BAGS,                                           Contingent
          P O BOX 933671                                                      Unliquidated
          ATLANTA, GA 31193-3671                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DEAN NAUDI                                                          Contingent
          8357 WINTERS LANE                                                   Unliquidated
          WHITMORE LAKE, MI 48189                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $360.00
          DEAN SNOW PLOWING                                                   Contingent
          7372 Calkins Rd                                                     Unliquidated
          FLINT, MI 48532                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DECO LECO LLC                                                       Contingent
          PO BOX 1793                                                         Unliquidated
          ROWLETT, TX 75030-1793                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DESCENTE                                                            Contingent
          502 WEST 300 SOUTH                                                  Unliquidated
          SALT LAKE CITY, UTAH 84101-0000                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,968.00
          DESIGNS BY DEE DEE                                                  Contingent
          947 8TH AVENUE                                                      Unliquidated
          P.O. BOX 1282                                                       Disputed
          COLUMBUS, GA 31902
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DEVANT SPORT TRAVEL                                                 Contingent
          3011 WAKEUP                                                         Unliquidated
          MONROE, NC 28110                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DEXTER SHOE CO INC                                                  Contingent
          P O BOX 26802                                                       Unliquidated
          NEW YORK, NY 10087-6802                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Digital Medics                                                      Contingent
          230 N State Road                                                    Unliquidated
          Davison, MI 48423                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $32,465.00
          DILLARDS DEPT STORES, INC.                                          Contingent
          6000 W. Markham                                                     Unliquidated
          LITTLE ROCK, AR 72201                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DIVIX GOLF INC                                                      Contingent
          1050 PIONEER WAY                                                    Unliquidated
          SUITE G                                                             Disputed
          EL CAJON, CA 92020
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,500.00
          DOEREN MAYHEW INSURANCE GROUP                                       Contingent
          305 W. Big Beaver Rd                                                Unliquidated
          TROY, MI 48084                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DON DENYER                                                          Contingent
          24446 REDWING DR                                                    Unliquidated
          NOVI, MI 48374                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DORFMAN-PACIFIC CO., INC                                            Contingent
          NW 5412                                                             Unliquidated
          PO BOX 1450                                                         Disputed
          MINNEAPOLIS, MN 55485-5412
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DOSKOCIL MANUGACTURING CO.,INC.                                     Contingent
          P.O. BOX 849863                                                     Unliquidated
          DALLAS, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,051.00
          DOUG BETHEL SALES INC.                                              Contingent
          750 Veterans Parkway                                                Unliquidated
          LAKE GENEVA, WI 43147                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DRENALINE PRODUCTS, LLC                                             Contingent
          P.O. BOX 482                                                        Unliquidated
          EXCELSIOR, MN 55331                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,760.00
          DUCK PRESS                                                          Contingent
          3957 EAST SPEEDWAY SUITE 202                                        Unliquidated
          TUCSON, AZ 85712                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DUNHAM'S SPORTS                                                     Contingent
           4273 CORUNNA RD                                                    Unliquidated
          FLINT, MI 48532-4184                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DYNAMIC BRANDS                                                      Contingent
          2701 EMERYWOOD PKWY #100                                            Unliquidated
          HENRICO, VA 23294                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          EASTER SEALS MICHIGAN INC                                           Contingent
          1420 W THIRD AVE                                                    Unliquidated
          FLINT, MI 48504                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          EASTERN PACIFIC APPAREL                                             Contingent
          P.O. BOX 72                                                         Unliquidated
          BRATTLEBORO, VT 05302-0072                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          EATON CORPORATION                                                   Contingent
          PO BOX 93531                                                        Unliquidated
          CHICAGO, IL 60673-3531                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,937.00
          ECCO                                                                Contingent
          P.O. BOX 83360                                                      Unliquidated
          WOBURN, MA 01813-3360                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,566.00
          ENCORE GROUP                                                        Contingent
          P.O. BOX 847186                                                     Unliquidated
          BOSTON, MA 02284-7186                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,112.00
          ESTES EXPRESS LINES                                                 Contingent
          3901 West Broad Street                                              Unliquidated
          RICHMOND, VA 23230                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ETONIC WORLDWIDE LLC                                                Contingent
          PO BOX 414935                                                       Unliquidated
          BOSTON, MA 02244-1493                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          EYEKING                                                             Contingent
          160 TERMINAL DRIVE                                                  Unliquidated
          PLAINVIEW, NY 11803                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FAIRWAY & GREENE                                                    Contingent
          New Willowbend Golf and Country Club Inc                            Unliquidated
          130 Willowbend Dr                                                   Disputed
          Mashpee, ma 02649
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FAIRWAY OUTFITTERS                                                  Contingent
          CIT GROUP                                                           Unliquidated
          PO BOX 1036                                                         Disputed
          CHARLOTTE, NC 28201-1036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FAIRWAY STYLES                                                      Contingent
          1811 HUGUENOT ROAD                                                  Unliquidated
          SUITE 204                                                           Disputed
          MIDLOTHIAM, VA 22113
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FANMATS LLC                                                         Contingent
          3255 SHAWNEE IND W                                                  Unliquidated
          SUWANEE, GA 30024                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $117.00
          Fathead LLC                                                         Contingent
          28765 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          FAY KENRICK                                                         Contingent
          G-3530 Flushing Road                                                Unliquidated
          FLINT, MI 48504                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $501.00
          FEDEX                                                               Contingent
          351 32nd Street                                                     Unliquidated
          PITTSBURGH, PA 15201                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FIDRA                                                               Contingent
          5600 ARGOSY CIRCLE #300                                             Unliquidated
          HUNTINGTON BEACH, CA 92649                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,012.00
          FIFTH THIRD BANK - SMARTMOVE                                        Contingent
          1850 East Paris Avenue SE                                           Unliquidated
          GRAND RAPIDS, MI 49546                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FINETUNEGOLF                                                        Contingent
          P.O. BOX 293157                                                     Unliquidated
          DAVIE, FL 33327                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FLETCHER LEISURE GROUP INC                                          Contingent
          104 RUE BARR STREET                                                 Unliquidated
          SAINT LAURENT, QUEBEC H4T 1Y4                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FOOTJOY INC                                                         Contingent
          P O BOX 88112                                                       Unliquidated
          CHICAGO, IL 60695-1112                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $90,282.00
          FOREMOST GOLF MFG., LTD                                             Contingent
          2F No. 16 Lane 3 Ji Hu Road                                         Unliquidated
          Nei Hu Chu                                                          Disputed
          TAIPEI, TAIWAN 11475-0000
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $61,804.00
          FORMOSA GOLF CORPORATION                                            Contingent
          2nd Fl No. 103 Nan Yeh Rd Chen Zuh                                  Unliquidated
          KAOHSIUNG, TAIWAN                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $36,360.00
          FORRESTER'S INC                                                     Contingent
          17230 NE SACRAMENTO ST                                              Unliquidated
          PORTLAND, OR 97230-5940                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FOURTEEN GOLF INC                                                   Contingent
          18271 WEST MCDURMOTT                                                Unliquidated
          SUITE F                                                             Disputed
          IRVINE, CA 92614
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FROGGER                                                             Contingent
          PO BOX 2044                                                         Unliquidated
          BEND, OR 97709-4041                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FUJIKURA COMPOSITE AMERICA, INC                                     Contingent
          1483 POINSETTIA AVE                                                 Unliquidated
          SUITE 103                                                           Disputed
          VISTA, CA 92081
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FUNDEX GAMES                                                        Contingent
          FUNDEX GAMES/LOCKBOX                                                Unliquidated
          P.O. BOX 95169                                                      Disputed
          PALATINE, IL 60095-0169
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          G T & T SALES                                                       Contingent
          915 WILSON AVENUE                                                   Unliquidated
          KITCHENER, ON N2C 1J1                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GALLANT BELT COMPANY                                                Contingent
          1421 RICHARDSON ST                                                  Unliquidated
          PO BOX 27002                                                        Disputed
          BALTIMORE, MD 21230-0002
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GAME GOLF                                                           Contingent
          520 TOWNSEND AVE.                                                   Unliquidated
          SUITE 300                                                           Disputed
          SAN FRANCISCO, CA 94103
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GAME WEAR, INC                                                      Contingent
          70 HUDSON ST                                                        Unliquidated
          SECOND FLOOR                                                        Disputed
          HOBOKEN, NJ 07030
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Garb, Inc.                                                          Contingent
          730 SOUTH JASON ST., UNIT 34                                        Unliquidated
          DENVER, CO 80223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GARMIN                                                              Contingent
          1200 E 151ST STREET                                                 Unliquidated
          OLATHE, KS 66062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,828.00
          GARSEN GOLF LLC                                                     Contingent
          444 BRICKHILL AVENUE                                                Unliquidated
          MIAMI, FL 33131                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GARY DOMAGALSKI                                                     Contingent
          3942 CROOKED CREEK                                                  Unliquidated
          OKEMOS, MI 48864                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GARY HUMENNY                                                        Contingent
          300 WEST HICKORY GROVE                                              Unliquidated
          BLOOMFIELD HILL, MI 48302                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GATORMADE GOLF                                                      Contingent
          PO Box 129                                                          Unliquidated
          ESTERIO, FL 33929                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,140.00
          GEAR FOR SPORTS                                                     Contingent
          12193 COLLECTIONS CENTER                                            Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GERBER GOLF                                                         Contingent
          17195 SILVER PARKWAY                                                Unliquidated
          # 326                                                               Disputed
          FENTON, MI 48430
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $16,937.00
          GH GRIFFITH HACK                                                    Contingent
          161 COLLINS ST LEVEL 10                                             Unliquidated
          MELBOURNE VIC, AUSTRALIA 03000-0000                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,891.00
          GIFT BOX CORP OF AMERICA                                            Contingent
          305 VETERANS BLVD                                                   Unliquidated
          CARLSTADT, NJ 07072                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $43.00
          GILLROYS                                                            Contingent
          6443 W PIERSON RD                                                   Unliquidated
          FLUSHING, MI 48433                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GLEN ECHO GOLF WEAR                                                 Contingent
          REMIT: CIT GROUP COMM SER                                           Unliquidated
          P O BOX 1036                                                        Disputed
          CHARLOTTE, NC 28201-1036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GLOVE IT                                                            Contingent
          537 S 48th ST SUITE 106                                             Unliquidated
          TEMPE, AZ 85281                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLF APPAREL BRANDS                                                 Contingent
          13301 S MAIN STREET                                                 Unliquidated
          LOS ANGELES, CA 90061                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLF AROUND THE WORLD, INC                                          Contingent
          1396 N. KILLIAN DRIVE                                               Unliquidated
          UNIT B                                                              Disputed
          LAKE PARK, FL 33403
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLF BUDDY                                                          Contingent
          20 CENTERPOINTE DR                                                  Unliquidated
          Suite 140                                                           Disputed
          LA PALMA, CA 90623
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,190.00
          Golf County Inc                                                     Contingent
          4730 Smiths Creek Road                                              Unliquidated
          Kimball, MI 48074                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLF DESIGN, INC                                                    Contingent
          11591 MARKON DR                                                     Unliquidated
          GARDEN GROVE, CA 92841                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLF ELEMENT                                                        Contingent
          3700 22ND ST. SUITE B                                               Unliquidated
          SAN FRANCISCO, CA 94114                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLF GIFTS & GALLERY                                                Contingent
          P.O. BOX 166                                                        Unliquidated
          N. 1675 POWERS LAKE ROAD                                            Disputed
          POWERS LAKE, WI 53159-9999
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLF LIQUIDATORS                                                    Contingent
          230 ANCHOR RD                                                       Unliquidated
          UNIT 3                                                              Disputed
          HAMILTON, ON L8W3R2
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $118,045.00
          GOLF LOGISTICS, LTD                                                 Contingent
          244-258 DES VOEUX RD W                                              Unliquidated
          SUITE 1807-8                                                        Disputed
          SAI YING PUN, HONG KONG
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLF MANIA OUTLET                                                   Contingent
          12247 S BEYER ROAD                                                  Unliquidated
          SUITE BO50                                                          Disputed
          BIRCH RUN, MI 48415
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLF MICHIGAN PLAYBOOK                                              Contingent
          PO BOX 733                                                          Unliquidated
          ROCKFORD, MI 49341                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Golf Shops Inc.                                                     Contingent
          17822 GEORGETOWN LN                                                 Unliquidated
          HUNTINGTON BEACH, CA 92647                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,600.00
          GOLF TECH SYSTEMS LTD                                               Contingent
                                                                              Unliquidated
          TAIWAN                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLFKNICKERS                                                        Contingent
          9 MORRIS LANE                                                       Unliquidated
          CLIFTON PARK, NY 12065                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLFSMITH INTERNATIONAL                                             Contingent
          11000 NORTH IH-35                                                   Unliquidated
          AUSTIN, TX 78753-3195                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLFTINI                                                            Contingent
          545 ALDEN AVE                                                       Unliquidated
          WESTFIELD, NJ 07090                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLFWORKS                                                           Contingent
          4820 JACKSONTOWN RD                                                 Unliquidated
          HEATH, OH 43056                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOLHER                                                              Contingent
          P.O. BOX 282                                                        Unliquidated
          LIVINGSTON, NJ 07039                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GORMAN GOLF PRODUCTS, INC                                           Contingent
          24520 W. 12 MILE ROAD                                               Unliquidated
          SOUTHFIELD, MI 48034                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GPG CREATIVE DIAPLAY, LLC                                           Contingent
          110 KNAPP DRIVE                                                     Unliquidated
          SUITE 117-135                                                       Disputed
          BATTLE CREEK, MI 49015
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GREAT DIVIDER GOLF, INC                                             Contingent
          621 CORPORATE CIRCLE BLD                                            Unliquidated
          GOLDEN, CO 80401                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,781.00
          GREAT LAKES PKG SUPPLY, INC                                         Contingent
          21641 MEYERS DRIVE                                                  Unliquidated
          OAK PARK, MI 48237                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GREENHOUSE INT'L LLC                                                Contingent
          300 CREEK VIEW RD                                                   Unliquidated
          SUITE 101                                                           Disputed
          NEWARK, DE 19711
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GREENKEEPERS                                                        Contingent
          2170 BENNETT ROAD                                                   Unliquidated
          PHILADELPHIA, PA 19116                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GREG MOORE                                                          Contingent
          618 JENNINGS LANDING                                                Unliquidated
          BATTLE CREEK, MI 49015                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $158.00
          GREG NORMAN COLLECTION                                              Contingent
          THE CIT GROUP                                                       Unliquidated
          COMMERICAL SERVICES, INC                                            Disputed
          CHARLOTTE, NC 28201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GRIP GUIDES                                                         Contingent
          B10 LLC                                                             Unliquidated
          736 NORTH WESTERN AVE                                               Disputed
          LAKE FOREST, IL 60045
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          H&H, LLC                                                            Contingent
          1194 WINTERCREST CIRLCE                                             Unliquidated
          MILFORD, OH 45150                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          H2GOLF COMPANY LLC                                                  Contingent
          32788 HUPA DRIVE                                                    Unliquidated
          TEMECULA, CA 92592                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HABITAT INTERNATIONAL INC                                           Contingent
          8811 PRODUCTION LANE                                                Unliquidated
          CHATTANOOGA, TN 37363                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HARRISON                                                            Contingent
          13215 LOUVRE STREET                                                 Unliquidated
          PACOIMA, CA 91331                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HARRY VARDON GOLF                                                   Contingent
          1220 EAST 7TH STREET                                                Unliquidated
          WINONA, MN 55987                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $200.00
          HARVEY LOPEZ                                                        Contingent
          13400 BLANCO RD                                                     Unliquidated
          SAN ANTONIO, TX 78216                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HEARTLAND CONSUMER PRODUCTS, LLC                                    Contingent
          18615 DETROIT AVE., STE 203                                         Unliquidated
          LAKEWOOD, OH 44107                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HEATMAX, INC                                                        Contingent
          PO BOX 1191                                                         Unliquidated
          DALTON, GA 30721                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HI-TEC                                                              Contingent
          PO BOX 60000                                                        Unliquidated
          SAN FRANCISCO, CA 94160                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          High Five                                                           Contingent
          1040 Cottonwood Avenue                                              Unliquidated
          Suite 300                                                           Disputed
          Hartland, WI 53029
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HILLERICH & BRADSBY CO.                                             Contingent
          LOCKBOX #3317                                                       Unliquidated
          PO BOX 8500                                                         Disputed
          PHILADELPHIA, PA 19178-3317
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HJGLOVE                                                             Contingent
          P.O. BOX 3037                                                       Unliquidated
          THOUSAND OAKS, CA 91359                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HOLE INONE                                                          Contingent
          PO BOX 6504                                                         Unliquidated
          SAGINAW, MI 48608                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HONMA GOLF                                                          Contingent
          809 SPRING FOREST RD                                                Unliquidated
          SUITE 800                                                           Disputed
          RALEIGH, NC 27609-9198
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HORNUNG'S                                                           Contingent
          P.O. BOX 1078                                                       Unliquidated
          FOND DU LAC, WI 54936-1078                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $178.00
          HUFFY SPORTS CANADA INC                                             Contingent
          C/O HUNTINGTON NATIONAL BANK                                        Unliquidated
          41 SOUTH HIGH STREET 5TH FL                                         Disputed
          COLUMBUS, OH 43260-2493
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          I GOTCHA GOLF                                                       Contingent
          701 FOREST VIEW CT                                                  Unliquidated
          WINTER SPRINGS, FL 32708                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          I. STERN & COMPANY                                                  Contingent
          3405 SW COLLEGE RD STE 113                                          Unliquidated
          OCALA, FL 34474-4475                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          IDB FACTORS                                                         Contingent
          GRAND CENTRAL STATION                                               Unliquidated
          P.O. BOX 4711                                                       Disputed
          NEW YORK, NY 10163-4711
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          IMPERIAL HEADWEAR INC                                               Contingent
          P.O. BOX 790051                                                     Unliquidated
          ST. LOUIS, MO 63179-0051                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          IMPORT MERCHANDISERS INC.                                           Contingent
          P.O. BOX 337                                                        Unliquidated
          N11254 INDUSTRIAL LANE                                              Disputed
          ELCHO, WI 54428-0337
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          INDUSTRIAL BAG AND SPECIALTIES                                      Contingent
          2325 JOHN B STREET                                                  Unliquidated
          WARREN, MI 48091                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $300.00
          INTERACTIVE FRONTIERS, INC                                          Contingent
          6134 GOTFREDSON RD                                                  Unliquidated
          PLYMOUTH, MI 48170                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $254.00
          INTERNAL REVENUE SERVICE                                            Contingent
          324 25TH ST                                                         Unliquidated
          OGDEN, UT 84201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,070.00
          INTERNATIONAL BUSINESS MACHINES                                     Contingent
          P.O. BOX 643600                                                     Unliquidated
          PITTSBURGH, PA 15264-3600                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          INTERNATIONAL GOLF                                                  Contingent
          17822 GEORGETOWN LANE                                               Unliquidated
          HUNTINGTON BEACH, MI 92647                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $125.00
          INTERTEK TESTING SERVICES HONG
          KONG                                                                Contingent
          GARMENT CTR, NO. 12 HILL                                            Unliquidated
          579-586 CASTLE PEAK RD                                              Disputed
          HONG KONG
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          IRA STERN                                                           Contingent
          I. STERN & CO., INC                                                 Unliquidated
          200 S.E. HWY 84                                                     Disputed
          OCALA, FL 34480
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          IRON GLOVES INC                                                     Contingent
          15863 N GREENWAY HAYDEN L                                           Unliquidated
          SUITE #117                                                          Disputed
          SCOTTSDALE, AZ 85260
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          IZOD G                                                              Contingent
          PORTER CAPITAL CORPORATION                                          Unliquidated
          P.O. BOX 12105                                                      Disputed
          BIRMINGHAM, AL 35202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,478.00
          J & M GOLF                                                          Contingent
          319 INDUSTRIAL DR                                                   Unliquidated
          GRIFFITH, IN 46319                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          J LINDEBERG                                                         Contingent
          54 E GREEN STREET                                                   Unliquidated
          NEW YORK, NY 10013                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          J.T.D. ENTERPRISES, INC                                             Contingent
          5510 EAST TEN MILE ROAD                                             Unliquidated
          WARREN, MI 48091                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JAMIE SADOCK LLC                                                    Contingent
          7 WEST 18TH ST                                                      Unliquidated
          2ND FLOOR                                                           Disputed
          NEW YORK, NY 10011
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JD GROUP                                                            Contingent
          7111 DIXIE HWY #125                                                 Unliquidated
          CLARKSTON, MI 48346                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JEFF THORNHILL                                                      Contingent
          840 SHORE GROVE CIRCLE #302                                         Unliquidated
          AUBURN HILLS, MI 48326                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JIM BUELOW                                                          Contingent
          2803 ROYAL VIEW DR                                                  Unliquidated
          OAKLAND, MI 48363                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,362.00
          Jimmy Hack Golf LLC                                                 Contingent
          PO Box 1175                                                         Unliquidated
          Easley, SC 29641                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JMW GOLF                                                            Contingent
          954 E JUANITA AVE                                                   Unliquidated
          MESA, AZ 85204                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JOFIT GOLF WEAR                                                     Contingent
          995 MEARNS RD                                                       Unliquidated
          WARMINSTER, PA 18974                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JOHN JENKINS                                                        Contingent
          8143 OLD MILL DR                                                    Unliquidated
          PICKNEY, MI 48169                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,712.00
          JOHN T LINDHOLM, TRUSTEE                                            Contingent
          G-9460 S. Saginaw Rd                                                Unliquidated
          Suite a                                                             Disputed
          GRAND BLANC, MI 48439
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $104.00
          JOHNNY APPLESEED INC.                                               Contingent
          735 SURFWOOD LANE                                                   Unliquidated
          DAVISON, MI 48423                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JP BEDARD                                                           Contingent
          649 ALBERT ST                                                       Unliquidated
          FORT ERIE, ON L2A 6R8                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JP LANN GOLF                                                        Contingent
          NEFOUSE ENTERPRISES, INC                                            Unliquidated
          4320 DELEMERE COURT                                                 Disputed
          ROYAL OAK, MI 48073
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,015.00
          JP8 Logistic Services LLC                                           Contingent
          5630 CERRITOS AVENUE                                                Unliquidated
          CYPRESS, CA 90630                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JR286, INC                                                          Contingent
          DEPT 2150                                                           Unliquidated
          DENVER, CO 80291-2150                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          JULIE SWARTZ                                                        Contingent
          3005 CHEYENNE AVENUE                                                Unliquidated
          FLINT, MI 48507                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Justin McNeil                                                       Contingent
          8708 Thorntree                                                      Unliquidated
          Grosse Ile, MI 48138                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          K-TOOL INTERNATIONAL                                                Contingent
          31111 WIXOM ROAD                                                    Unliquidated
          WIXOM, MI 48393                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          K. BELL SPORT SOCKS                                                 Contingent
          550 N OAK ST                                                        Unliquidated
          INGLEWOOD, CA 90302-2942                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KADENA USA INC.                                                     Contingent
          7319 W. DEAN ROAD                                                   Unliquidated
          MILWAUKEE, WI 53223                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $46,666.00
          KARSTEN MFG CO                                                      Contingent
          PO BOX 52450                                                        Unliquidated
          PHOENIX, AZ 85072-2450                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KELLY KUHLMAN LLC                                                   Contingent
          916 EASTGATE DR                                                     Unliquidated
          FRANKENMUTH, MI 48734                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KEN MOORE                                                           Contingent
          23890 NORTHLINE                                                     Unliquidated
          TAYLOR, MI 48180                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,216.00
          KENEWELL GROUP                                                      Contingent
          3031 W THOMPSON RD                                                  Unliquidated
          FENTON, MI 48430                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $24,638.00
          KINGSTAR SPORTS LIMITED
          SIMA INDUSTRIAL ZONE                                                Contingent
          CHANGXIE ROAD                                                       Unliquidated
          CHANG PING ZEN                                                      Disputed
          DOUNGGUAN CITY, GUANDONG PRC
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KINSEY'S                                                            Contingent
          1660 STEEL WAY DR                                                   Unliquidated
          MOUNT JOY, PA 17552-9515                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KLONE LAB, LLC                                                      Contingent
          NB GOLF LICENSEE                                                    Unliquidated
          9 WATER ST                                                          Disputed
          AMESBURY, MA 01913
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KOOLATRON                                                           Contingent
          27 CATHARINE AVE                                                    Unliquidated
          BRANTFORD, ONTARIO N3T 1X5                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KYE POWER                                                           Contingent
          467 PATTEN HILL RD                                                  Unliquidated
          CANDIA, NH 03034                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KYNE SPORT                                                          Contingent
          406 MARSH DUCK WAY                                                  Unliquidated
          VIRGINIA BEACH, VA 23451                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LADY'S FIRST                                                        Contingent
          374 STRAWHILL ROAD SE                                               Unliquidated
          CLEVELAND, TN 37323                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LAMKIN CORPORATION                                                  Contingent
          6530 GATEWAY PARK DR                                                Unliquidated
          SAN DIEGO, CA 92154                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LANTIS EYEWEAR CORP                                                 Contingent
          P O BOX 17019                                                       Unliquidated
          NEWARK, NJ 07194                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,225.00
          LASER LABEL TECHNOLOGIES                                            Contingent
          P.O. BOX 743243                                                     Unliquidated
          ATLANTA, GA 30374-3243                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LASER LINK                                                          Contingent
          4027 OWL CREEK DRIVE                                                Unliquidated
          MADISON, WI 53718                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LAVA MARKETING GROUP                                                Contingent
          15331 BARRANCA PARKWAY                                              Unliquidated
          IRVING, CA 92618                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LB BELT COMPANY                                                     Contingent
          9300 CUNNINGHAM RD                                                  Unliquidated
          CINCINNATI, OH 45243                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,127.00
          LEASE OPERATIONS                                                    Contingent
          PO BOX 935204                                                       Unliquidated
          ATLANTA, GA 31193-5204                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LEEGIN LEATHER PRODUCTS                                             Contingent
          14022 NELSON AVENUE                                                 Unliquidated
          CITY OF INDUST, CA 91746                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LEUPOLD                                                             Contingent
          14400 NW GREENBRIER PARKWAY                                         Unliquidated
          BEAVERTON, OR 97006-5790                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LIFE IS GOOD                                                        Contingent
          15 HUDSON PARK DRIVE                                                Unliquidated
          HUDSON, NH 03051                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LIJA                                                                Contingent
          #610 - 13211 DELF PLACE                                             Unliquidated
          RICHMOND, B.C. V6V 2A2                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LINE-UP FOR SPORT                                                   Contingent
          14312 CHAMBERS RD SUITE B                                           Unliquidated
          TUSTIN, CA 92780                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $908,848.00
          LINGHUI GOLF ACCESSORIES FACTORY
          NO A48 GAO YU SOUTH ROAD                                            Contingent
          PINGSHAN INDUSTRIAL AREA                                            Unliquidated
          523710 TANGXIA TOWN                                                 Disputed
          DONGGUAN CITY, GUANDONG PRC
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LINKS CHOICE                                                        Contingent
          4545 KIDDSDAIRY RD                                                  Unliquidated
          SCOTTSVILLE, VA 24590                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LINKS WALKER                                                        Contingent
          4800 126 AVE N                                                      Unliquidated
          CLEARWATER, FL 33762                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,189.00
          LINKSOUL                                                            Contingent
          530 S COAST HWY                                                     Unliquidated
          OCEANSIDE, CA 92054                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LIQUIDMETAL GOLF                                                    Contingent
          PAYABLE:TO THE CIT GROUP                                            Unliquidated
          P O BOX 1036                                                        Disputed
          CHARLOTTE, NC 28201-1036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LIZ CLARIBORNE INC                                                  Contingent
          PO BOX 70675                                                        Unliquidated
          CHICAGO, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LJC GOLF COMPANY                                                    Contingent
          1390A ENGINEIR ST                                                   Unliquidated
          VISTA, CA 92081                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $30,000.00
          LOFT8 PERFORMANCE APPAREL                                           Contingent
          345 NUGGET AVENUE, NO. 14                                           Unliquidated
          SCARBOROUGH, ON M1S 4J4                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LONDON FOG GOLF                                                     Contingent
          DIV. OF THE WEATHER COMPANY                                         Unliquidated
          10 STATION PLACE, STE 19                                            Disputed
          METUCHEN, NJ 08840
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LORI JOHNSON                                                        Contingent
          19839 MERIDIAN                                                      Unliquidated
          GROSSE ILE, MI 48138                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          M L WILSON CO                                                       Contingent
          P O BOX 361608                                                      Unliquidated
          MELBOURNE, FL 32936                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          M&M WATCH                                                           Contingent
          23679 CALABASAS RD #100                                             Unliquidated
          CALABASAS, CA 91302                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          M.A.S. INDUSTRIES                                                   Contingent
          1050 PILGRIM RD                                                     Unliquidated
          PLYMOUTH, WI 53073                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MACGREGOR GOLF COMPANY                                              Contingent
          P.O. BOX 601574                                                     Unliquidated
          CHARLOTTE, NC 28260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MACNEILL ENGINEERING                                                Contingent
          140 LOCKE DRIVE                                                     Unliquidated
          MARLBOROUGH, MA 01752                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $85,788.00
          MACNEILL ENGINEERING COMPANY, INC.                                  Contingent
          140 LOCKE DRIVE                                                     Unliquidated
          MARLBOROUGH, MA 01752                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MADRONA CONCEPTS, LLC                                               Contingent
          DBA RIFE PUTTERS INTERNATIONAL                                      Unliquidated
          13620 NE 20TH STREET, SUITE Q                                       Disputed
          BELLEVUE, WA 98005
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $40,864.00
          MAERSK LOGISTIC                                                     Contingent
          18215 EAST ROWLAND ST                                               Unliquidated
          CITY OF INDUSTRY, CA 91748                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,599.00
          MALIN DISTRIBUTORS/TRI CITY                                         Contingent
          9094 E POTTER RD                                                    Unliquidated
          FOUNTAIN SUPPLY                                                     Disputed
          DAVISON, MI 48423
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MAPLE HILL GOLF                                                     Contingent
          5555 IVANREST SW                                                    Unliquidated
          GRANDVILLE, MI 49418                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MARCIA                                                              Contingent
          20740 PLUMMER ST                                                    Unliquidated
          CHATSWORTH, CA 91311                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MARI COPENHAVER                                                     Contingent
          5331 PINEWOOD DR                                                    Unliquidated
          BIRGHTON, MI 48116                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $113.00
          MARK R. WHRITNER                                                    Contingent
          5027 MT HARRIS DR                                                   Unliquidated
          SAN DIEGO, CA 92117                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MARTINI TEES                                                        Contingent
          5275 DIXIE HWY                                                      Unliquidated
          SUITE C6                                                            Disputed
          WATERFORD, MI 48329
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MAUI JIM                                                            Contingent
          6534 EAGLE WAY                                                      Unliquidated
          CHICAGO, IL 60678-1065                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MAXWELLS WHOELSALE                                                  Contingent
          24 WOODLAWN AVE                                                     Unliquidated
          PO BOX 311                                                          Disputed
          WINDER, GA 30680
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $103.00
          MAXX DISTRIBUTION                                                   Contingent
          7431 S MADISON ST                                                   Unliquidated
          TACOMA, WA 98409                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MAXX SUNGLASSES                                                     Contingent
          P.O. BOX 3110                                                       Unliquidated
          MONUMENT, OHIO 80132-0000                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $197.00
          MCLAREN MEDICAL MANAGEMENT                                          Contingent
          PO BOX 7700                                                         Unliquidated
          DEPT. 77672                                                         Disputed
          DETROIT, MI 48277-0672
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MEDICUS - RMG                                                       Contingent
          2845 INTERSTATE PARKWAY                                             Unliquidated
          BRUNSWICK, OH 44212                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MEREDITH MARKVA                                                     Contingent
          1477 LAURENTAIN PASS                                                Unliquidated
          FLINT, MI 48532                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $208.00
          MICHAEL P.C. SHAW                                                   Contingent
          116 AZALEA DRIVE                                                    Unliquidated
          SUMMERVILLE, SC 29485                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,335.00
          Michael Rutt                                                        Contingent
          1283 DESIAX                                                         Unliquidated
          Bloomfield Hills, MI 48302                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MIKE GARRISON                                                       Contingent
          23545 HICKORY GROVE                                                 Unliquidated
          NOVI, MI 48375                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MILLIONARIE GALLERY                                                 Contingent
          4231 S.W. 71ST AVE                                                  Unliquidated
          MIAMI, FL 33155                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MIURA GOLF INC                                                      Contingent
          5489 BYRNE ROAD                                                     Unliquidated
          UNIT 160                                                            Disputed
          BURNABY, BC V5J 3J1
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,862.00
          MIZUNO GOLF COMPANY                                                 Contingent
          P O DRAWER 101831                                                   Unliquidated
          ATLANTA, GA 30392-1831                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MOLHIMAWK INC                                                       Contingent
          519 OXFORD ST                                                       Unliquidated
          SAN FRANCISCO, CA 94134                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MOMENTUS GOLF                                                       Contingent
          500 N LINCOLN ST                                                    Unliquidated
          MOUNT PLEASANT, IA 52641                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MONTEREY CLUB                                                       Contingent
          A.M. PLAYER                                                         Unliquidated
          12338 LOWER AZUSA RD                                                Disputed
          ARCADIA, CA 91006-5872
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MOTOR CITY GOLF WAREHOUSE                                           Contingent
          42875 GRAND RIVER AVE                                               Unliquidated
          SUITE 101                                                           Disputed
          NOVI, MI 48375
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MV SPORT                                                            Contingent
          88 SPENCE ST                                                        Unliquidated
          PO BOX 9171                                                         Disputed
          BAYSHORE, NY 11706
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NANCY HOWLES                                                        Contingent
          3691 BARN MEADOW LANE                                               Unliquidated
          LAKE ORION, MI 48362                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NANCY LOPEZ GOLF                                                    Contingent
          185 WEBER STREET SOUTH                                              Unliquidated
          WATERLOO, ONTARIO N2J 2B1                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NATIONAL GOLF ART                                                   Contingent
          27639 GRATIOT AVE                                                   Unliquidated
          ROSEVILLE, MI 48066                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NAVIKA USA INC                                                      Contingent
          6 JOURNEY                                                           Unliquidated
          SUITE 375                                                           Disputed
          ALISO VIEJO, CA 92656
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NEEDLE & THREADS                                                    Contingent
          1407 BROADWAY                                                       Unliquidated
          SUITE 3704                                                          Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,779.00
          NEO FIBER INDUSTRIAL CO. LTD.                                       Contingent
          RM 04 7/F SUNBEAN CENTER                                            Unliquidated
          KOWLOON, HONG KONG                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NEVER COMPROMISE                                                    Contingent
          P O BOX 520900                                                      Unliquidated
          SALT LAKE CITY, UT 84152-0900                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,385.00
          NEW BALANCE                                                         Contingent
          2600 LUCIEN WAY                                                     Unliquidated
          SUITE 100                                                           Disputed
          MAITLAND, FL 32751
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NEW CENTURY DISPLAYS                                                Contingent
          201 OVERLAND PARK PLACE                                             Unliquidated
          NEW CENTURY, KS 66031                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NEWPORT SPORTSWEAR                                                  Contingent
          THE CIT GROUP                                                       Unliquidated
          PO BOX 1036                                                         Disputed
          CHARLOTTE, NC 28201-1036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NICK PRICE COLLECTION                                               Contingent
          PO BOX 5364                                                         Unliquidated
          PINEHURST, NC 28374                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NICKENT GOLF                                                        Contingent
          1028 LAWSON STREET                                                  Unliquidated
          CITY OF INDUSTRY, CA 91748                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $163,660.00
          NIKE INC                                                            Contingent
          8987 N. CENTRAL EXPY                                                Unliquidated
          NORTH PARK CENTER                                                   Disputed
          DALLAS, TX 75225
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $109,684.00
          NIKE INC                                                            Contingent
          8987 N. CENTRAL EXPY                                                Unliquidated
          NORTH PARK CENTER                                                   Disputed
          DALLAS, TX 75225
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NIKE VISION, TIMING & TECHLAB, LP                                   Contingent
          P.O. BOX 849765                                                     Unliquidated
          DALLAS, TX 75284-9765                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $91,062.00
          NINGBO WENTAI SPORTS EQUIPMENT CO.,                                 Contingent
          LTD                                                                 Unliquidated
                                                                              Disputed
          XINQI TOWN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NIVO SPORTS                                                         Contingent
          5290 BOUL THIMENS                                                   Unliquidated
          ST-LAURENT, QUECBEC H4R 2B2                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          OAKHURST GOLF LLC                                                   Contingent
          7000 OAKHURST LANE                                                  Unliquidated
          CLARKSTON, MI 48348                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,971.00
          OAKLEY, INC.                                                        Contingent
          1 ICON                                                              Unliquidated
          FOOTHILL RANCH, CA 92610                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $95.00
          OFFICE DEPOT                                                        Contingent
          DEPARTMENT 77877                                                    Unliquidated
          6600 NORTH MILITARY TRAIL                                           Disputed
          BACO RATON, FL 33496
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,455.00
          OGIO INTERNATIONAL, INC                                             Contingent
          LOCKBOX #774447                                                     Unliquidated
          4447 SOLUTIONS CENTER                                               Disputed
          CHICAGO, IL 60677-4004
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,751.00
          ORION ENERGY SYSTEMS, INC                                           Contingent
          PO BOX 7278                                                         Unliquidated
          ATTN: FINANCE PROGRAMS                                              Disputed
          ST CLOUD, MN 56302
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $121.00
          ORKIN PEST CONTROL                                                  Contingent
          3179 SHATTUCK RD                                                    Unliquidated
          SAGINAW, MI 48603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,995.00
          OUTDOOR CUSTOM SPORTWEAR LLC                                        Contingent
          7007 COLLEGE BOULEVARD #200                                         Unliquidated
          OVERLAND PARK, KS 66211                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          OUTKAST, INC,                                                       Contingent
          940 MINNESOTA AVE                                                   Unliquidated
          DULUTH, MN 55802                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          OXFORD INDUSTRIES INC                                               Contingent
          12564 COLLECTIONS CENTER                                            Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          P&M GLOBAL                                                          Contingent
          SUITE 334                                                           Unliquidated
          6290 RONALD REAGAN DR                                               Disputed
          LAKE ST LOUIS, MO 63367
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          P&W Golf Supply, LLC                                                Contingent
          300 Bond St.                                                        Unliquidated
          Elk Grove Village, IL 60007                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PACIFIC GOLF ACCESSORIES                                            Contingent
          7874 SW NIMBUS AVE                                                  Unliquidated
          BEAVERTON, OR 97008                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $42,178.00
          PADERSON SPORTING GOODS                                             Contingent
          No. 18, 37th ROAD                                                   Unliquidated
          TAICHUNG, TAIWAN                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Page & Tuttle                                                       Contingent
          301 North Broom                                                     Unliquidated
          Suite 200                                                           Disputed
          Madison, WI 53703
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,619.00
          PARAMOUNT APPAREL                                                   Contingent
          PO BOX 790051                                                       Unliquidated
          ST LOUIS, MO 63179-0051                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PAUL COTEY ENTERPRISES                                              Contingent
          915 WILSON AVE                                                      Unliquidated
          KITCHNER, ON N2C 1J1                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PAULA K TAYLOR                                                      Contingent
          18W 102 RODGERS COURT                                               Unliquidated
          DARIEN, IL 60561                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PERFECT CLUB LLC                                                    Contingent
          ATTN BESSIE                                                         Unliquidated
          125 EAST MARKS ST                                                   Disputed
          ORLANDO, FL 32803
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PETE DELANO                                                         Contingent
          18115 RIVERSIDE DRIVE                                               Unliquidated
          BEVERLY HILLS, MI 48025                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,709.00
          PIPER GOLF ENTERPRISES                                              Contingent
          30 KIRKS COURT                                                      Unliquidated
          ROCHESTER HILLS, MI 48309                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $814.00
          PITNEY BOWES                                                        Contingent
          PO BOX 371887                                                       Unliquidated
          PITTSBURGH, PA 15250-7887                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $164.00
          PLAY IT AGAIN SPORTS                                                Contingent
          6300 WHITE LANE STE                                                 Unliquidated
          BAKERSFIELD, CA 93309                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,474.00
          PLYMOUTH PACKAGING INC                                              Contingent
          1133 GENERAL DRIVE                                                  Unliquidated
          DRAWER #641698                                                      Disputed
          DETROIT, MI 48170
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          POCKETEC INC                                                        Contingent
          50 NE DIXIE HWY E7                                                  Unliquidated
          STUART, FL 34994                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          POLARA GOLF                                                         Contingent
          2380 CAMINO VIDA ROBLE                                              Unliquidated
          SUITE E                                                             Disputed
          CARLSBAD, CA 92011
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $871.00
          PORTERLINE                                                          Contingent
          3629 THIRD AVE, SUITE 5                                             Unliquidated
          SAN DIEGO, CA 92103                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $686.00
          POSTMASTER                                                          Contingent
                                                                              Unliquidated
          FLINT, MI 48501                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          POWER BALANCE, LLC                                                  Contingent
          30012 IVY GLENN DRIVE                                               Unliquidated
          SUITE 170                                                           Disputed
          LAGUNA NIGUEL, CA 92677
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Power Bilt Golf                                                     Contingent
          72-370 QUARRY TRAIL                                                 Unliquidated
          THOUSAND PALMS, CA 92276                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PREMIUM SALES                                                       Contingent
          10231 B TOPANGA CANYON BL                                           Unliquidated
          CHATSWORTH, CA 91311                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PRIDE GOLF TEE CO                                                   Contingent
          BOX 88879                                                           Unliquidated
          MILWAUKEE, WI 53288-0879                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PRINCIPAL RESOURCES, LLC                                            Contingent
          P O BOX 270107                                                      Unliquidated
          MINNEAPOLIS, MN 55427-0107                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $596.00
          PRINCIPLE PLASTICS                                                  Contingent
          1136 W. 135TH ST                                                    Unliquidated
          GARDENA, CA 90247                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PRO GOLF BALL SRVS LTD                                              Contingent
          12505 REED RD, SUITE 200                                            Unliquidated
          SUGARLAND, TX 77478                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PRO LINE SPORTS, INC                                                Contingent
          107 COMMERCE WAY                                                    Unliquidated
          SANFORD, FL 32771                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,899,016.00
          PRO SATURN INDUSTRIAL CO.
          NO. 4211, CAOAN ROAD                                                Contingent
          HUANGDU TOWN                                                        Unliquidated
          JIADING DISTRICT                                                    Disputed
          SHANGHAI, PRC
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PROACTIVE SPORTS, INC.                                              Contingent
          1200 S E. 2ND AVENUE                                                Unliquidated
          CANBY, OR 97013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $374.00
          PROGENT INFORMATION TECHNOLOGY                                      Contingent
          PO BOX 254737                                                       Unliquidated
          SACRAMENTO, CA 95865-4737                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,236.00
          PROSHIP                                                             Contingent
          400 N EXECUTIVE DR                                                  Unliquidated
          BROOKFIELD, WI 53005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PUKKA GOLF                                                          Contingent
          1800 PRODUCTION DR                                                  Unliquidated
          PO BOX 773                                                          Disputed
          FINDLAY, OH 45839
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PUMA NORTH AMERICA, INC.                                            Contingent
          PO BOX 5130                                                         Unliquidated
          CAROL STREAM, IL 60197-5130                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PURE SPIN SPORTS                                                    Contingent
          PO BOX 5486                                                         Unliquidated
          EL MONTE, CA 91734                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Q-LINK GOLF                                                         Contingent
          2901 WEST COAST HWY #310                                            Unliquidated
          NEWPORT BEACH, CA 92663                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,512.00
          QINGDAO JINBAI PRECISE METALS CO.,                                  Contingent
          LTD                                                                 Unliquidated
                                                                              Disputed
          QUNDAGO CITY
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          QUIVER DISTRIBUTION, LLC                                            Contingent
          P.O. BOX 2416                                                       Unliquidated
          BEND, OR 97709                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,552.00
          R. D. FRANCHI, CPA, PLLC                                            Contingent
          5330 HIGHLAND ROD                                                   Unliquidated
          WATERFORD, MI 48327                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,765.00
          RALPH LAUREN                                                        Contingent
          POLO GOLF                                                           Unliquidated
          4100 BEECHWOOD DRIVE                                                Disputed
          GREENSBORO, NC 27410
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RANGE SERVANT                                                       Contingent
          3000 CENTER PLACE                                                   Unliquidated
          SUITE 300                                                           Disputed
          NORCROSS, GA 30093
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RAY COOK GOLF COMPANY                                               Contingent
          P O BOX 951526                                                      Unliquidated
          DALLAS, TX 75395-1526                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RED LION MFG INC.                                                   Contingent
          PO BOX 360286                                                       Unliquidated
          PITTSBURGH, PA 15250-6286                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          REDSTONE                                                            Contingent
          REMIT GMAC COMM CREDIT LL                                           Unliquidated
          PO BOX 403161                                                       Disputed
          ATLANTA, GA 30384-3161
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          REFINER GOLF                                                        Contingent
          6405 S. TEXPOINT                                                    Unliquidated
          HOMOSASSA, FL 34446                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          REGENT SPORTS CORPORATION                                           Contingent
          P.O. BOX 11357                                                      Unliquidated
          HAUPPAUGE, NY 11788                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RELOAD RECYCLE GOLF BALLS                                           Contingent
          12505 REED RD                                                       Unliquidated
          STE 150                                                             Disputed
          SUGAR LAND, TX 77478
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          REMEDY GOLF                                                         Contingent
          5125 CONVOY ST                                                      Unliquidated
          SUITE 209                                                           Disputed
          SAN DIEGO, CA 92111
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $21,260.00
          RETAIL NAVIGATOR CONSULTING, INC.                                   Contingent
          388 JASMINE STREET                                                  Unliquidated
          LAGUNA BEACH, CA 92651                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          REYN SPOONER                                                        Contingent
          CAPITAL FACTORS                                                     Unliquidated
          PO BOX 79                                                           Disputed
          MEMPHIS, TN 38101-0079
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RG CONCEPTS                                                         Contingent
          PO BOX 811                                                          Unliquidated
          ORTONVILLE, MI 48462                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RICH IMPORTS                                                        Contingent
          2601A TAMPA EAST BLVD                                               Unliquidated
          TAMPA, FL 33619                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RINNA JONES & ASS. LLC                                              Contingent
          1161 EMERALD FOREST                                                 Unliquidated
          DAVISON, MI 48423                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROB BACKUS                                                          Contingent
          15732 CRYSTAL DOWNS E                                               Unliquidated
          NORTHVILLE, MI 48168                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROCHESTER SHOE TREE COMPA                                           Contingent
          PO BOX 55395                                                        Unliquidated
          BOSTON, MA 02205                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROCKET TOUR                                                         Contingent
          1999 BEACON CT                                                      Unliquidated
          BOULDER, CO 80302                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROSASEN CLOTHING                                                    Contingent
          7771 MELROSE AVE                                                    Unliquidated
          LOS ANGELES, CA 90046                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROSENTHAL & ROSENTHAL                                               Contingent
          P.O. BOX 88926                                                      Unliquidated
          CHICAGO, IL 60695-1926                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,750.00
          ROSS, STUART AND DAWSON INC                                         Contingent
          691 N SQUIRREL RD, SUITE 175                                        Unliquidated
          AUBURN HILLS, MI 48326                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROVER GOLF                                                          Contingent
          P.O. BOX 162521                                                     Unliquidated
          ALTAMONTE SPRINGS, FL 32716                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,300.00
          ROYAL LINKS                                                         Contingent
          5500 EAST FLAMINGO RD                                               Unliquidated
          LAS VEGAS, NV 89122                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $351.00
          ROYAL TEES GOLF LLC                                                 Contingent
          2000 TOWNLEY STREET                                                 Unliquidated
          JACKSON, MI 49203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RSG PUBLISHING, INC                                                 Contingent
          P O BOX 2612                                                        Unliquidated
          DEARBORN HTS, MI 48123-2612                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Rule Golf                                                           Contingent
          2521 EAST SKYLINE DRIVE                                             Unliquidated
          SALT LAKE CITY, UT 84108                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          S.H.E. 4LIFE, LLC                                                   Contingent
          3116 N HUNTINGTON RD.                                               Unliquidated
          MARION, IN 46952                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SABONA OF LONDON UNLIMITE                                           Contingent
          609 DAXIS BLVD                                                      Unliquidated
          P.O. BOX 1429                                                       Disputed
          SIKESTON, MO 63801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $214.00
          SAFETY-KLEEN SYSTEMS, INC                                           Contingent
          P.O. BOX 382066                                                     Unliquidated
          PITTSBURG, PA 15250                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $187.00
          SAM'S CLUB                                                          Contingent
          4373 CORUNNA ROAD                                                   Unliquidated
          FLINT, MI 48532                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SANDBAGGERS                                                         Contingent
          70 CENTER ST                                                        Unliquidated
          P.O. BOX 17677                                                      Disputed
          PORTLAND, ME 04112
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SANSABELT SYSTEM                                                    Contingent
          REMIT:HART SCHAFFNER & MARX                                         Unliquidated
          3249 PAYSPHERE CIRCLE                                               Disputed
          CHICAGO, IL 60674
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SAVANT GPS, LLC                                                     Contingent
          6814 GANT ROAD                                                      Unliquidated
          SUITE 124                                                           Disputed
          HOUSTON, TX 77066
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,527.00
          SCANNA CO., LTD                                                     Contingent
          No 91 Lane 55 Sec 4                                                 Unliquidated
          Hai Dein Road                                                       Disputed
          TAINAN, Taiwan R.O.C.
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SCORE BAND                                                          Contingent
          612 JOHNNIE DODDS BLVD                                              Unliquidated
          SUITE A1                                                            Disputed
          MT PLEASANT, SC 29464
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SEEMORE                                                             Contingent
          277 MALLORY STATION                                                 Unliquidated
          SUITE 119                                                           Disputed
          FRANKLIN, TN 37067
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $164,401.00
          SHIN-WOO IND. CORP.                                                 Contingent
          456-2 CHUJA-RI OPO-EUP                                              Unliquidated
          KWANGJU-SI, GYEONGGI-DO                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SHOPATRON, INC                                                      Contingent
          NORTH AMERICA                                                       Unliquidated
          PO BOX 5351                                                         Disputed
          SAN LOUIS, CA 93403
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $45.00
          SHRED EXPERTS                                                       Contingent
          1595 CHAMPAGNE                                                      Unliquidated
          SAGINAW, MI 48532                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $52,913.00
          SHUN XING LONG GOLF PRODUCTS CO.,                                   Contingent
          LTD                                                                 Unliquidated
          NO 13 ZHU JIANG RD BIJIANG IND ZONE                                 Disputed
          SHUNDE, FOSHAN CITY
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SIEGFRIED                                                           Contingent
          THE CIT GROUP                                                       Unliquidated
          PO BOX 1036                                                         Disputed
          CHARLOTTE, NC 28201-1036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SIGNATURE PROMOTIONS                                                Contingent
          6215 MCKENZIE DRIVE                                                 Unliquidated
          FLINT, MI 48507                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,930.00
          SISKIYOU GIFTS                                                      Contingent
          3551 AVION DR                                                       Unliquidated
          MEDFORD, OR 97504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SISKIYOU GIFTS                                                      Contingent
          3551 AVION DR.                                                      Unliquidated
          MEDFORD, OR 97504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SKB CORPORATION                                                     Contingent
          434 W LEVERS PLACE                                                  Unliquidated
          ORANGE, CA 92667                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SKECHERS SHOE CO.                                                   Contingent
          PO BOX 74008181                                                     Unliquidated
          CHICAGO, IL 60674-8181                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SKLZ                                                                Contingent
          23 NEWTON DRIVE                                                     Unliquidated
          STE 130                                                             Disputed
          CARLSBAD, CA 92008
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          skygolf                                                             Contingent
          P.O. BOX 2960                                                       Unliquidated
          RIDGELAND, MS 39158                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SLAZENGER GOLF PRODUCTS                                             Contingent
          P O BOX 692066                                                      Unliquidated
          CINCINNATI, OH 45269-2066                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SMACK APPAREL COMPANY                                               Contingent
          2310 W STATE ST                                                     Unliquidated
          TAMPA, FL 33609                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SMART PATH SYSTEMS, INC                                             Contingent
          1245 CHAMPA STREET                                                  Unliquidated
          FOURTH FLOOR                                                        Disputed
          DENVER, CO 80204
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SMARTWOOL                                                           Contingent
          P.O. BOX 771978                                                     Unliquidated
          1978 SOLUTIONS CENTER                                               Disputed
          CHICAGO, IL 60677-1009
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          SOCIAL SECURITY ADMINISTRATION                                      Contingent
          WILKES-BARRE DATA OPERATIONS                                        Unliquidated
          7 WILKES-BARRE BLVD 102                                             Disputed
          WILKES-BARRE, PA 18702
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SOFTSPIKES, INC.                                                    Contingent
          PO BOX 631501                                                       Unliquidated
          BALTIMORE, MD 21263-1501                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SOLUS GOLF                                                          Contingent
          2600 FRANKLIN RD                                                    Unliquidated
          NASHVILLE, TN 37204                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SONARTEC                                                            Contingent
          1939 PALOMAR OAKS WAY                                               Unliquidated
          SUITE B                                                             Disputed
          CARLSBAD, CA 92009-1311
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SPANNER LIMITED                                                     Contingent
          334A MANITOU DRIVE                                                  Unliquidated
          KITCHENER, ON N2C 1L3                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,840.00
          SPARTAN DISTRIBUTORS, INC.                                          Contingent
          P.O. BOX 672995                                                     Unliquidated
          DETROIT, MI 48267                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,083.00
          SPECIALIZED MARKETING                                               Contingent
          8220 ELMBROOK DR                                                    Unliquidated
          DALLAS, TX 75247                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,482.00
          SPIRIT LEATHERWORKS, L.L.C.                                         Contingent
          P.O. BOX 75359                                                      Unliquidated
          CHICAGO, IL 60675-5359                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,566.00
          SPOONER SALES INC                                                   Contingent
          4072 N DORT HWY                                                     Unliquidated
          FLINT, MI 48506                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SPORT HALEY, INC.                                                   Contingent
          THE CIT GROUP COMMERICAL                                            Unliquidated
          SERVICE INC.                                                        Disputed
          CHARLOTTE, NC 28201-1036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SPORTS PROMOTION                                                    Contingent
          4425 SUTTON PLACE SW                                                Unliquidated
          GRANDVILLE, MI 49418                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SPORTS SENSORS INC                                                  Contingent
          11351 EMBASSY DR                                                    Unliquidated
          CINCINNATI, OH 45240                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $91.00
          SPRING MOUNTAIN WATER CO                                            Contingent
          425 S DORT HWY                                                      Unliquidated
          FLINT, MI 48503                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,380.00
          SRIXON SPORTS USA                                                   Contingent
          DEPT. 3355                                                          Unliquidated
          PO BOX 123355                                                       Disputed
          DALLAS, TX 75312-3355
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SSAM SPORTS, INC/PUTTER WHEEL                                       Contingent
          441 FAIRVIEW AVENUE                                                 Unliquidated
          FAIRVIEW, NJ 07022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,387.00
          ST ANDREWS PRODUCTS                                                 Contingent
          500 MARINER DRIVE                                                   Unliquidated
          MICHIGAN CITY, IN 46360                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ST. JOHN'S MARKETING                                                Contingent
          NOVELTY AND PROMOTIONAL ITEMS                                       Unliquidated
          18408 BLUE HERON DRIVE WEST                                         Disputed
          NORTHVILLE, MI 48168
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,216.00
          STATE COMPTROLLER                                                   Contingent
          111 E. 17th Street                                                  Unliquidated
          AUSTIN, TX 78711                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $65,000.00
          STATE OF MICHIGAN                                                   Contingent
          MICHIGAN DEPARTMENT OF TREASURY                                     Unliquidated
          LANSING, MI 48922                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STERLING CUT GLASS                                                  Contingent
          3233 MINEOLA PIKE                                                   Unliquidated
          ERLANGER, KY 41018-1027                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STERLING FACTORS CORPORATION                                        Contingent
          P.O. BOX 742                                                        Unliquidated
          MIDTOWN STATION                                                     Disputed
          NEW YORK, NY 10018
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STEWART CHARLEY VENTURES LLC                                        Contingent
          2525 VAN NESS AVE # 206                                             Unliquidated
          SAN FRANCISCO, CA 94109                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STRAIGHT DOWN CLOTHING CO                                           Contingent
          FIRST CAPITAL WESTERN REGION                                        Unliquidated
          PO BOX 643382                                                       Disputed
          CINCINNATI, OH 45264-3382
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STRIKFORCE BOWLING LLC                                              Contingent
          2001 W. PARKES DRIVE                                                Unliquidated
          BROADVIEW, IL 60155                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STYLO                                                               Contingent
          2609 FAIRWAY LANE                                                   Unliquidated
          FORT GRATIOT, MI 48059                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUE WOODSUM                                                         Contingent
          19880 PIERSON DR                                                    Unliquidated
          NORTHVILLE, MI 48167                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,595.00
          SULLIVANS CATERING SERVICE                                          Contingent
          4070 ELMS RD                                                        Unliquidated
          FLUSHING, MI 48433                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,136.00
          SUMMIT IMPORT & EXPORT
          INTERNATIONAL LTD
          27TH FLOOR, ISLAND CENTRE                                           Contingent
          470 RECLAMATION STREET                                              Unliquidated
          KOWLOON                                                             Disputed
          MONGKOK, HONG KONG
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUN BAN FASHIONS                                                    Contingent
          600 FOUTH AVENUE                                                    Unliquidated
          BROOKLYN, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUN BAN FASHIONS                                                    Contingent
          600 FOURTH AVE                                                      Unliquidated
          BROOKLYN, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUN MOUNTAIN SPORTS                                                 Contingent
          P O BOX 7727                                                        Unliquidated
          MISSOULA, MT 59807                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUN N SAND ACCESSORIES                                              Contingent
          1813 109TH ST                                                       Unliquidated
          GRAND PRAIRIE, TX 75050                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUN PRODUCTS USA                                                    Contingent
          P.O. BOX 154                                                        Unliquidated
          HOPKINS, MN 55343                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUNDOG MIDWEST                                                      Contingent
          336 MCKEE ST                                                        Unliquidated
          BATAVIA, IL 60510                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUNDOG SPORT EYEWEAR USA                                            Contingent
          291 KING STREET                                                     Unliquidated
          SUITE 700                                                           Disputed
          LONDON, ON N6B 1R8
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUNFISH                                                             Contingent
          1104 RIVERWOOD DR                                                   Unliquidated
          NASHVILLE, TN 37216                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUNICE                                                              Contingent
          13354 COLLECTIONS CENTER                                            Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUNSET GOLF                                                         Contingent
          PO BOX 89                                                           Unliquidated
          LOUDONVILLE, OH 44842                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUPER STROKE                                                        Contingent
          29706 WEST TECH DRIVE                                               Unliquidated
          WIXOM, MI 48393                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $173,604.00
          SUPPLY CHAIN SHIPPING LLC                                           Contingent
          4607 44TH STREET SE                                                 Unliquidated
          KENTWOOD, MI 48512                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SUPREME INTERNATIONAL                                               Contingent
          P O BOX 277017                                                      Unliquidated
          ATLANTA, GA 30384-7017                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SWIFTWICK                                                           Contingent
          PO BOX 2363                                                         Unliquidated
          BRENTWOOD, TN 37024                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SWING SCIENCE                                                       Contingent
          PO BOX 501816                                                       Unliquidated
          INDIANAPOLIS, IN 46250                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SWING SOCK                                                          Contingent
          PO BOX 590                                                          Unliquidated
          BENTONVILLE, AR 72712                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SWINGWING GOLF                                                      Contingent
          4767 RAVINEWOOD DRIVE                                               Unliquidated
          COMMERCE TWP, MI 48382                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $16,740.00
          SWITCH                                                              Contingent
          22000 NORTH PARK DRIVE                                              Unliquidated
          KINGWOOD, TX 77339                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,471.00
          TACKI-MAC GRIPS                                                     Contingent
          22000 NORTHPARK DRIVE                                               Unliquidated
          KINGWOOD, TX 77339                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TAIL INC                                                            Contingent
          GREAT CIRCLE VENTURES HOLDING, LLC                                  Unliquidated
          P.O. BOX 105328                                                     Disputed
          ATLANTA, GA 30348-5328
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TAKE 2 AUTHENTICS                                                   Contingent
          1216 SOUTHBOUND GRATIOT AVE                                         Unliquidated
          MT. CLEMENTS, MI 48043                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,410.00
          TASK PERFORMANCE GROUP                                              Contingent
          2340 S ARLINGTON HEIGHTS RD                                         Unliquidated
          ARLINGTION HEIGHTS, IL 60005                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Tattoo Golf                                                         Contingent
          2764 A LINCOLN S                                                    Unliquidated
          BURBANK, CA 91504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,073.00
          TAYLOR MADE GOLF                                                    Contingent
          5545 FERMI CT                                                       Unliquidated
          CARLSBAD, CA 92008                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $76.00
          TAYLOR MADE-ADIDAS GOLF                                             Contingent
          MAXFLI DIVISION                                                     Unliquidated
          P O BOX 406043                                                      Disputed
          ATLANTA, GA 30384-6043
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TAYLORMADE-ADIDAS GOLF CO                                           Contingent
          5545 FERMI CT                                                       Unliquidated
          CARLSBAD, CA 92008                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TEAM EFFORT, INC.                                                   Contingent
          P.O. BOX 243                                                        Unliquidated
          120 9TH STREET                                                      Disputed
          CLARION, IA 50525
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TEAM EFFORT| INC.                                                   Contingent
          P.O. BOX 243                                                        Unliquidated
          120 9TH STREET                                                      Disputed
          CLARION, IA 50525
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TEAM GOLF                                                           Contingent
          2221 LUNA RD                                                        Unliquidated
          CARROLLTON, TX 75006                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TECHNASONIC ELECT., INC                                             Contingent
          3700 W MORSE AVEE                                                   Unliquidated
          LINCOLNWOOD, IL 60712                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TECHNIQUE GOLF LLC                                                  Contingent
          TIGER SHARK GOLF                                                    Unliquidated
          26020 MOUND ROAD                                                    Disputed
          WARREN, MI 48091
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,909.00
          TECSYS INC.                                                         Contingent
          75 REMITTANCE DRIVE                                                 Unliquidated
          CHICAGO, IL 60675                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TEEDUP PRODUCTS                                                     Contingent
          16138 HWY 169                                                       Unliquidated
          MILACA, MN 56353                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TEHAMA                                                              Contingent
          PORTER CAPITAL                                                      Unliquidated
          PO BOX 12105                                                        Disputed
          BIRMINGHAM, AL 35202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Telic U.S.A.                                                        Contingent
          PO Box 433                                                          Unliquidated
          Oceanside, NY 11572                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TERRY SUTTON                                                        Contingent
          897 S WASHINGTON                                                    Unliquidated
          HOLLAND, MI 49423                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $704.00
          THE CIT GROUP/COMMERCIAL SERVICES                                   Contingent
          PO BOX 1036                                                         Unliquidated
          CHARLOTTE, NC 28201-1036                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          THE CIT GROUP/COMMERICAL                                            Contingent
          SERVICES,INC                                                        Unliquidated
          PO BOX 1036                                                         Disputed
          CHARLOTTE, NC 28201-1036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          THE GAME                                                            Contingent
          16 DOWNING DR                                                       Unliquidated
          PO BOX 2516                                                         Disputed
          PHENIX CITY, AL 36868-2516
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $150.00
          THE GREAT PUT ON INC                                                Contingent
          G3240 W PASADENA                                                    Unliquidated
          FLINT, MI 48504                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          THE LBH GROUP LTD                                                   Contingent
          18700 CRENSHAW BLVD                                                 Unliquidated
          TORRANCE, CA 90504                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          THE OTTER COMPANY                                                   Contingent
          PO BOX 1102                                                         Unliquidated
          BIRMINGHAM, MI 48012                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          THE PUTTING ARC, INC                                                Contingent
          PO BOX 165                                                          Unliquidated
          732 ROMIE HILL AVE                                                  Disputed
          SHANNON, MS 38868
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          THE ROCK AT WOODMOOR PRO SHOP                                       Contingent
          26 MAXTON ROAD                                                      Unliquidated
          DRUMMOND ISLAND, MI 49726                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          THE SOCKYARD COMPANY INC                                            Contingent
          1430 BROADWAY SUITE 1615                                            Unliquidated
          NEW YORK, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          THE SPEED STIK                                                      Contingent
          11711 ARBOR ST                                                      Unliquidated
          OMAHA, NE 68144                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          THE TOP FLITE GOLF CO                                               Contingent
          CALLAWAY GOLF                                                       Unliquidated
          P O BOX 9002                                                        Disputed
          CARLSBAD, CA 92018-9002
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,962.00
          THE TWISTER COMPANY                                                 Contingent
          PO BOX 2058                                                         Unliquidated
          101 MERROW ROAD                                                     Disputed
          AUBURN, ME 04211-2058
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          THE WEATHER COMPANY                                                 Contingent
          PO BOX 726                                                          Unliquidated
          HUGER, SC 29450                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          THOM DAMON                                                          Contingent
          157 NAIRN CIRCLE                                                    Unliquidated
          HIGHLAND, MI 48357                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          THOM DAMON                                                          Contingent
          157 NAIRN CIRCLE                                                    Unliquidated
          HIGHLAND, MI 48357                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TIFOSI OPTICS                                                       Contingent
          1051 INSUSTRIAL BOULEVARD                                           Unliquidated
          WATKINSVILLE, GA 30677                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TIN CUP                                                             Contingent
          7223 LEE HIGHWAY SUITE 100                                          Unliquidated
          FALLS CHURCH, VA 22046                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,639.00
          TITLEIST                                                            Contingent
          PO BOX 88112                                                        Unliquidated
          CHICAGO, IL 60695-1112                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $59,703.00
          TMAX GEAR
          WELLS FARGO TRADE CAPITAL                                           Contingent
          SERVICES,INC                                                        Unliquidated
          PO BOX 360286                                                       Disputed
          PITTSBURGH, PA 15250-6286
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TMAX GEAR                                                           Contingent
          WELLS FARGO CENTURY, INC                                            Unliquidated
          P O BOX 360286                                                      Disputed
          PITTSBURGH, PA 15250-6286
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $141,985.00
          TMAX GEAR                                                           Contingent
          701 PENNEL STREET                                                   Unliquidated
          HENDERSON, KY 42420                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TO GOLF                                                             Contingent
          599 BRIGGS PLACE                                                    Unliquidated
          SUPERIOR, CO 80027                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TOM DEATON                                                          Contingent
          4444 E GRAND RIVER                                                  Unliquidated
          HOWELL, MI 48843                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TOMMY BAHAMA GROUP, INC                                             Contingent
          C/O TOMMY BAHAMA                                                    Unliquidated
          12564 COLLECTIONS CENTE DRIVE                                       Disputed
          CHICAGO, IL 60693
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,383.00
          TOSHIBA FINANCIAL SERVICES                                          Contingent
          PO BOX 790448                                                       Unliquidated
          ST. LOUIS, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TOUR EDGE GOLF MANUF.                                               Contingent
          1301 PIERSON DRIVE                                                  Unliquidated
          BATAVIA, IL 60510                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,290.00
          TOUR GOLF GROUP                                                     Contingent
          1301 PIERSON DRIVE                                                  Unliquidated
          BATAVIA, IL 60510                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,470.00
          Town Talk Mfg Co Inc                                                Contingent
          6310 Cane Run Rd                                                    Unliquidated
          Louisville, KY 40258-2814                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TREASURES & TRINKETS, INC                                           Contingent
          60 HILLIARD STREET                                                  Unliquidated
          MANCHESTER, CT 06040                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TRG GROUP                                                           Contingent
          2047 WESTPORT CENTER DR                                             Unliquidated
          ST LOUIS, MO 63146                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TRIONZ                                                              Contingent
          1815 ASTON AVE                                                      Unliquidated
          SUITE 104                                                           Disputed
          CARLSBAD, CA 92008
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TRU ALIGN GOLF                                                      Contingent
          PO BOX 532048                                                       Unliquidated
          LIVONIA, MI 48153                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,056.00
          TRUE TEMPER SPORTS                                                  Contingent
          PO BOX 403492                                                       Unliquidated
          ATLANTA, GA 30384-3492                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TRUE TEMPER SPORTS                                                  Contingent
          PO BOX 403492                                                       Unliquidated
          ATLANTA, GA 30384-3492                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,115.00
          TRUGREEN-FLINT 2784                                                 Contingent
          PO BOX 9001125                                                      Unliquidated
          LOUISVILLE, KY 40290                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TURFER ATHLETIC                                                     Contingent
          400 MASSASOIT AVE                                                   Unliquidated
          SUITE 300                                                           Disputed
          EAST PROVIDENCE, RI 02914
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TWICE FRAMING                                                       Contingent
          1757 LARCHWOOD                                                      Unliquidated
          TROY, MI 48083                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,874.00
          U.S. CUSTOMS AND BORDER PROTECTION                                  Contingent
          PO BOX 530071                                                       Unliquidated
          ATLANTA, GA 30353                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,603.00
          UNDER ARMOUR                                                        Contingent
          P.O. BOX 791022                                                     Unliquidated
          BALTIMORE, MD 21279-1022                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          UNDER ARMOUR                                                        Contingent
          P.O. BOX 791022                                                     Unliquidated
          BALTIMORE, MD 21279-1022                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,211.00
          UNIQUE CONCEPT                                                      Contingent
          1841 BRENNER ST                                                     Unliquidated
          SAGINAW, MI 48602                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          UNITED MARKETING                                                    Contingent
          1801 W 4TH ST.                                                      Unliquidated
          MARION, IN 46952                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          UNITED SPORTS TECHNOLOGIE                                           Contingent
          14950 FAA BLVD                                                      Unliquidated
          SUITE 200                                                           Disputed
          FORT WORTH, TX 76155
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          UPLAYTECH                                                           Contingent
          2185 Faraday Ave                                                    Unliquidated
          Ste 130                                                             Disputed
          CARLSBAD, CA 92008
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,863.00
          UPS                                                                 Contingent
          PO BOX 3049                                                         Unliquidated
          WEST COLUMBIA, SC 29171                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          US KIDS GOLF                                                        Contingent
          PO BOX 934000                                                       Unliquidated
          ATLANTA, GA 31193-4000                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,539.00
          USBANK A TFS PROGRAM                                                Contingent
          301 NORTH TUCKER BLVD                                               Unliquidated
          ST. LOUIS, MO 63101                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          V.O. BAKER DISTRIBUTING C                                           Contingent
          P.O. BOX 55                                                         Unliquidated
          MENTOR, OH 44061-0055                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          VANTAGE APPAREL                                                     Contingent
          PO BOX 60                                                           Unliquidated
          100 VANTAGE DRIVE                                                   Disputed
          AVENEL, NJ 07001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,756.00
          VERIZON WIRELESS                                                    Contingent
          P.O. BOX 15062                                                      Unliquidated
          ALBANY, NY 12212-5062                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          VIRTUALLY PERFECT GOLF                                              Contingent
          44125 12 MILE RD                                                    Unliquidated
          SUITE E115                                                          Disputed
          NOVI, MI 48377
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $414.00
          VISTA DESIGN STUDIO                                                 Contingent
          5620 PASEO DEL NORTE                                                Unliquidated
          PO BOX 127-212                                                      Disputed
          CARLSBAD, CA 92008
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          VOLVIK USA INC                                                      Contingent
          9436 SOUTHRIDGE PARK CT                                             Unliquidated
          SUITE 400                                                           Disputed
          ORLANDO, FL 32819
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,759.00
          WABEEK COUNTRY CLUB                                                 Contingent
          4000 CLUBGATE DRIVE                                                 Unliquidated
          BLOOMFIELD HILLS, MI 48302                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WALNUT CREEK COUNTRY CLUB                                           Contingent
          C/O JEREMY LATHWELL                                                 Unliquidated
          25501 JOHNS RD                                                      Disputed
          SOUTH LYON, MI 48178
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $89.00
          WASTE MANAGEMENT                                                    Contingent
          550 NORTH CENTER AVENUE                                             Unliquidated
          CAROL STREAM, IL 60186                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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              Name

 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Weatherproof Garment Company                                        Contingent
          4 BRYANT PARK, 12TH FLOOR                                           Unliquidated
          NEW YORK, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Were & Betzen Sales                                                 Contingent
          4850 Westgate Road                                                  Unliquidated
          Minnetonka, MN 55345                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WES BENEDICT                                                        Contingent
          4668 MT BRIGHTON DR                                                 Unliquidated
          BRIGHTON, MI 48116                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WEST COAST TRENDS, INC.                                             Contingent
          17811 JAMESTOWN LANE                                                Unliquidated
          HUNTINGTON BCH, CA 92647                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WholesaleGrips Inc                                                  Contingent
          18050 15 Mile Rd                                                    Unliquidated
          Fraser, MI 48026                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WILD SALES, LLC                                                     Contingent
          17401 TILLER COURT                                                  Unliquidated
          SUITE A                                                             Disputed
          WESTFIELD, IN 46074
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WILDCAT GOLF WEAR                                                   Contingent
          500 S PALM CANYON STE #                                             Unliquidated
          PALM SPRING, CA 92264                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WILSON GOLF DIVISION                                                Contingent
          PO BOX 3135                                                         Unliquidated
          CAROL STREAM, IL 60132-3135                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,273.00
          WILSON SPORTING GOODS CO.                                           Contingent
          PO BOX 3135                                                         Unliquidated
          CAROL STREAM, IL 60132-3135                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $371.00
          WIN'S ELECTRICAL                                                    Contingent
          G3490 S SAGINAW STREET                                              Unliquidated
          BURTON, MI 48529                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WINDSONG SPORT                                                      Contingent
          1599 POST ROAD EAST                                                 Unliquidated
          WESTPORT, CT 06880                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WINDSOR & YORK                                                      Contingent
          PO BOX 2617                                                         Unliquidated
          PALM BEACH, FL 33480                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WINN INCORPORATED                                                   Contingent
          15648 COMPUTER LANE                                                 Unliquidated
          HUNTINGTON BCH, CA 92649                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WINNER MATE                                                         Contingent
          REMIT: CIT GROUP/COMM. SE                                           Unliquidated
          P O BOX 1036                                                        Disputed
          CHARLOTTE, NC 28201-1036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WINNING EDGE DESIGNS, LLC                                           Contingent
          P.O. BOX 947                                                        Unliquidated
          HIGHSTOWN, NJ 08520                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WITTEK GOLF SUPPLY                                                  Contingent
          3865 COMMERICAL AVE                                                 Unliquidated
          NORHTBROOK, IL 60062                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WOMEN'S GOLF UNLIMITED                                              Contingent
          180 GLORIA LANE                                                     Unliquidated
          FAIRFILED, NJ 07004                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,694.00
          YOUNG AND BASILE P.C.                                               Contingent
          3001 WEST BIG BEAVER RD                                             Unliquidated
          TROY, MI 48084                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $193.00
          YOUNG LEISURE GOLF CO. LTD.                                         Contingent
          1655 HERITAGE OAKS COURT                                            Unliquidated
          TARPON SPRINGS, FL 34689                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,436.00
          YOUNG R BASILE, P.C.                                                Contingent
          301 E LIBERTY STREET                                                Unliquidated
          ANN ARBOR, MI 48104                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Yurbuds                                                             Contingent
          27239 Network Place                                                 Unliquidated
          Chicago, IL 60673-1272                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.563     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $0.00
           Zero Friction                                                      Contingent
           1 Trans Am Plaza Drive                                             Unliquidated
           Ste 540                                                            Disputed
           Oakbrook Terrace, IL 60181
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.564     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $0.00
           ZEVO GOLF                                                          Contingent
           42005 ZEVO DRIVE                                                   Unliquidated
           TEMECULA, CA 92590                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                      related creditor (if any) listed?                 account number, if
                                                                                                                                                        any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                         6,055.62
 5b. Total claims from Part 2                                                                            5b.    +   $                     5,509,516.00
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        5,515,571.62




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